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EXHIBIT P
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WILKINS JAS G APPRAISALS

Exterior-Only Inspection Residential Appraisal Report — rie» sem17048

Neighborhood Characteristics One-Unit Housing Trends |__ One-Unit Housing Present Land Use %
Location [| Urban [3X] Suburban |_| Rural [Property Values ny Values [x increasing [| Stable tJ Declining PRICE AGE | One-Linit 85 5
Built-Up x Over 75% | | 25-75% [| Under 25% |Demand/Supply | | Shortage [J InBalance {| Over Supply | $ (000) (ys) | 2-4 Unit %|
Growth [| Rapid [| Stable 5) Slow | Marketing Time Under 3 mis Bx] 3-6mtts (-) Over mths | 40 Low 42 _| Multi-Family I
Neighborhood Boundaries Due to it's rather unique characteristics and gated access the subject subdivision | 290 High 40 _| Commercial ‘|
is generally considered to be a nelghborhood. 130 Pred. 35 | Other 1 HH

The purpose of this summary appraisal report is to pravide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.

Property Address 5334 Della Ter =e ___City East Stroudsburg State pa ZipCode 18304

Borrower Gutierrez, Antonio ____Owner of Public Record Antonio Luis Gutierrez : County Monroe =
Legal Description DBV: 2479-1455 ca ee Td
Assessor's Parcel ®  17638204921888 Tax Year_2018 RE Tats$ 8333.65 |
Neighboriood Name PennEstates Map Reference 20700 Gensus Tract_30.0.01 cell
Occupant D2] Owner [| Tenant [ | Vacant Special Assessments $__O BY PUD HOAS 4,240 EX] peryear (_] permonth |

Property Rights Appraised {X) Fee Simple [|_| Leasehoki [| Other (descrive)

Assignment Type {| Purchase Transacton [| Refinance Transaction —_(5<] Other (descrite) Market Value
Lender(Client — Eckert Seamans Cherin & Mellott, LLC Address Princeton Pike Corp. Center, 2000 Lenox Drive, Ste 203 ane NJO8648
is the subject property currently offered for sale or has itbeen offered for sale inthe twelve months prior to the effective date of this aporaisal? LA Yes BX) No

Report data source(s) used, offering price(s), and date(s). Pocono Mountain MLS .

| [ ] did {_] did not analyze the contract for sale for the subject purchase transaction. Explain the resuits of the analysis of the contract for sale or why the analysis was not
performed.

Contract Price $ Market Value Date of Contact Is the property seller the owner of public record? | Yes [ “No Data Source(s) J
Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behall of the borrower? (] Yes [J No

‘Yes, report the total dollar amount and describe the items to be paid. see =p

Note: Race and the racial composition of the neighborhood are not appraisal factors.

Neighborhood Description Penn Estates Is a very large vacation/primary h ome gated subdivision, a

Market Conditions (including support for the above conclusions) Market actively and values have gradually been increasing over the past year.

Dimensions 245 2'x 100' x 60.4' x 113.9" x 124.6! __ Alea 56acre Shape (regular View Average |
Specific Zoning Classification Rea _Zoning Description Low Density Residential _ |
Zoning Gampkance [J Legal {_] Legal Nonconforming (Grandlathered Use) (2) NoZoning [| Illegal {describe} |
's the highest and best use of subject property as improved (or as proposed per plans and specications) the present use? D4 Yes [] No It No, describe |
Uiities Public Other (describe) Publ ther (describe) t-te Improvements Tyne ible __—Private
Becrcty Ff) Water |) Community _ Steet_Asphalt LJ bd

Gs [| fi None 2 Keown Sanitary Sewer [_] G4 Community Aly None CE

FEMA Special Flood Hazard Area = [_| Yes. [<J.No FEMAFlood Zone x ___FEMA Map # 42089C0269E FEMA Map Date 5/2/2013 J
Saeed pia mnie yaaa aT __ Bg Yes, [] No INo, describe - _ __

Aro there any adverse site conditions or external factors (easements, encroachments, environmental condifians, land uses, eto,)? (| Yes [<] No ites, describe

Source(s) Used for Physical Characteristics of Property |_| Appraisal fies >] MLS [x] Assessment and Tax Records [J Priorinspecton [| Property Owner

Other (describe) _ Exterior Inspection Oata Source for Gross Living Area__Tax Assessor's Records
General Description es r e

Units [x] One |_| One with Accessory Unit | | Conerate Slab [><] Craw! Space |_| FWA |_| HWE Fireplaces) # 4 None S|
# of Stories 2 {Lj FullBasement_ [J Finished = |_| Radiant . [_] Woodstove(s) # Driveway #otCars 2+ |
Type [J Det [ ] Att. [|] S-Det/end Unit ff | Partial Basement [| Finished Other Ht.Pmp. _ [P<] PatioDeck Wood [Driveway Surface Asphalt/Ave.

Exising [| Proposed [~) Under Const. |Exterior Walls TAad Fuel Elec. ——_—|_] Porch Garage @otCas 4 Car
Design (Style) Contemporary [Roof Surface = Asph. Shing/Aval] Central Air Conditioning |_| Pool Carport = #otCas
Year Built 1986 ______ [Gutters & Downspouts Alum/Ave. |_| Individual [_] Fence _) Attached [| Detached
Effective 32 Window T) Casement/Ave.||_] Other L_] Other Built-in
Appliances Refrigerator Range/Oven Dishwasher I ] Dispasal Microwave Washer/Dryer Other (describe)
Finished area above grade contains: 9 Rooms 4 Bedrooms 2.5 Bath(s) 2,902 Square Feat of Gross Living Area Above Grade

Additional features (special energy efficient tems, etc.) __ My exterior inspection revealed no extra features not already described in this report.

Describe the condition of the property and data source(s) (including apparent needed repairs, deterioration. renavations, remodeling, etc). Based on my exterior inspection the |
home a irs to be In average to above average condition inthis neighborhood. _

Are there any apparent physical deficiencies or adverse conditions that affect the lvabilty, soundness, or structural integrity of the property? L] Yes &] No
Yes, descrive, pe |
mM exterior Inspection didn't reveal any ‘any adverse c conditions or physie cal deficiencies. aan = _ J

Does the property generally conform to the neighborhood (lunctional utility, style. condition, use, construction, ec.)? Dc) Yes [|] No_IfNo. deserte —
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There are ~—comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 432,500 to$ 259,900 J
There are 7_comparable_sales in the subject neighborhood within the past twelve months ranging in sale price trom $ 79,000 of 2274
FEATURE | SUBJECT COMPARABLE SALE # 1 COMPARABLE SALE # 2 COMPARABLE SALE # 3
Address ~=§334 Della Ter 221 Somerset Dr 4110 Rosewood Ter 126 Summerton Cir
___East Stroudsburg, PA18301__| East Stroudsburg, PA18301__| East Stroudsburg, PA 18301. East Stroudsburg, PA48302
Proximity to Subject Bs __|0.33 mites N - 0.72 miles NE 0.72 miles E _
Sale Price _|$ — Market Valuel |S 460,000; $ 178,000) $ 459,000
Sale Price/Gross Liv, Area $ sof.|$ 65,60 soft $ 64.84 sq.ft $ s464sqft)
PMMLS#: PM-53029 __|PMMLS#: PM-56956 |PMMLS#:PM-S7455
Verification Source(s) i __|17638204945539 17639203243907 |17639203238681
VALUE ADJUSTMENTS “| DESCRIPTION | DESCRIPTION  +(-) $Adjustment_| DESCRIPTION | +(-)$Adjustment | DESCRIPTION | +(-) $ Adjustment
Sales or Financing None Known None Known None Known
Concessions : tke 77 seul pes on Bs Dhara os sper I | zl
Date of Sate/Time_ di si4-2018 oor | 7-30-2018 6-15-2018 sf err
Average | Average _ _ i AWerage |Average sisal
Bie Fee Simple __|Fee Simple __ Fee Simple Fee Simple |
|.56 acre ‘|0.36 acre __}0.55 acre [0.65 acre:
essay [Average | Average | i __|Average | Arne |
Design (Style) = [Contemporary {Contemporary |_ __|Contemporary Contemporary |
Quality of Construction _laverage __inferlor +2,000) Average _ ‘Average |
Age ___|32 __|32 | (34 {sess Paes |
se [Average Average | ______| Average : Average —__
Total Sdrms.| Baths | Total | Birms.| Baths | Total | Gdems, | Baths | | Total | Sdrms.| Baths ee
|9| 4l25s|s8 3/3 | +1000) 10) Lala 6000, 9 4 | 3 _ 4,000
‘Gross Living Area 2.902 sait| 2.439 syft| _——+4,600| __2,880 sat | _ 2,910. sat
Basement & Finished Crawlspace Slab ‘Slab
Rooms Below Grade N/A N/A | _|N/A. N/A it 4
Functional Utility ___|Average Average _ Average fo
a | ling ___|Ht Pmp/AC _|BB/Elec/1 Wall | +2000) BB/Elec/None ss +3,000| BBHW/AC -2,000
rey Energy Efficient tems {None [None _|None {None fo
Pa Garage/Carpot 4. Car |ACarGarage | ‘|1. Car Garage ACarGarage |
e i _ Decks _ Decks | Decks Decks —t ae
re] Fireplace/Stove Pad _|FP&StvPad (FP &StvPad | __|2Fireplaces | ___| Fireplace. +2,000|
iia
7 ULCtC“‘i‘“‘CéC‘*”C fe | : ile ___
oY Net Adjustment (Total) cy | i+ Tl: [s aeoo) [I+ B- Is 20001 Ll+ KX. {8 -1,000
re Adjusted Sale Price Net Ad. 60 % NetAd. 1.1 | Net Ad. §=6 6 %
i of Comparables Gross Adj. 6.0 %|$ 169,600|Gtoss Ad. 4.5 %|$ 176,000|Gross Adj 3.4 %/5 158,000

a) (x) did | | did not research the sale or transfer history of the subject property and comparable sales. If not, explain

Data Source(s) Tax assesso assessor's records :
My research [x] did (| didn Cero ane orga compar it ro oro i st compe

Data Source(s) Tax assessor's records _ on

eM SUBJECT —s|_—_—_CCOMPARABLE SALE #1 COMPARABLE SALE #2 | COMPARABLESALE#] |
Date of Prior Sale/Transter {204-2016 (8-7-2017 s 9-27-1983 (3-2-2012 Sosa
Price of Prior Sale/Transfer __|$1.00 _|$62,000 |$25,900 ___ {$84,970
Data Source(s) ___[DBv: 2479-1465 ‘|DBV:2495-8406 |DBV: 1295-327 pv 2398-7995
Effective Date of Data Source(s) [8-7-2018 (8-15-2018 8-15-2018 8-15-2018 _
Analysis of prior sale or transfer history of the subject property and comparable sales This sale's prior sale was more than 4 year prior. Only Sale #4 had a prior _|
sale within one year prior to the most recent sale. It actually had two prior sales within that prior year and appears to have been the result of the |
foreclosure process. Lg mea _

Summary of Sales Comparison Approach ~ Lhave des escribed and analyzed the three most similar sales found during my research of the Pocono Mountain

MLS for the subject subdivision over the past twelve months. These sales are in my opinion the most similar to the subject and provide the most _
realistic value indicators. | have made adjustments for pertinent physical differences based on market preferences. Any adjustments for quallty or_ |
ondition are based on the MLS descriptions as well as a review of MLS interior photos of these sales. No age adjustments were made asthe subject _|
and comparable's effective ages are judged to be equal. Some differences in living area were found when comparing the MLS data andthe Tax J
Assessor's data. Reviewing these differences | found that the above grade "Basement" areas had been finished and thus added to the above grade _
living area. My Information for the subject is based on my exterlor "Drive by" inspection and a 2004 MLS listing which didn't have interior photos. |

have assumed that the GE ee Is average during my comparison.

Indicated Value by Sates Com 8,000
Indicated Value by: Sales Comparison Approach § Seat 468,000 _ Gost Approach (if developed) § Income Approach (ifdeveloped)$ aya
(have only developed the Sales Comparison Approach as the Cost and Income Approaches are inappropriate for single family homes and older homes.

This appraisal is made 2 "asis", [] subject to completion per plans and specifications on the basis of 2 hypothetical condition that the improvements have been —
completed, {_] subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed. or [| subject to the
following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair.

rae)

ages

ial Based on a visual inspection of the exterior areas of the subject pro from at least the street, defined scope of work, statement of assumptions and limiting
conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the tea of this report is
$ 168,000 __,asof 8-11-2018 , Which is the date of inspection and the effective date of this appraisal.

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Exterior-Only Inspection Residential Appraisal Report — riee 1smiz048

Definition of Market Value
The definition of Market Value which appears on page 4 of this report is that which is used by agencies regulating federally insured financial
institutions in the United States, as indicated in: C.F.R, Part 34.42(g); 55 Federal Register 34696, August 24, 1990, as amended at 57 Federal
Register 12202, April. 9, 1992: 59 Federal Register 29499, June7,1994. _

The intended user of this report is Eckert Seamans Cherin & & Mellott, LLC, No other intended users, nor uses s have been identified antified by me and a il
none are assumed. Use of this appraisal by anyone other than the intended user does not obligate me to consult, advise, or answer questions for__|
other than Eckert Seamans Cherin & Mellott, LLC. | physically inspected the exterior of the subject property. | have also reviewed the _
‘tax assessor's data, and a previous MLS listing. | am areal estate appraiser only thus my report is a value estimate only. As | have no special
ertise in construction, plumbing, heating, electrical systems, appliance operation, insect or rodent infestation, environmental issues, or
zoning/building requirements, | make no claims on these items with regard to the subject eg

eS ae

eters) pela PN

COST APPROACH TO VALUE (not required by Fannie Mae)
Provide adequate information for the lenderictient to replicate the below cost figures and calculations.
Support for the opinion of site value {summary of comparable land | sales or other methods for estimating site value}

FAQESTIMATED [| } REPRODUCTIONOR [ | REPLACEMENTCOSTNEW  =———_| OPINION OF SITE VALUE =f nit
Faq Source ofccostdata JOWELUNG SA @S
Fm Quality rating from cost service Effective date of cost tata J _ Soh @$ cee Ippon =$
a Comments on Cost Aoproach (gross living area calculations, depreciation, etc.) - Tee ee a. =
i a GarageiCarpot = @S =
4 ___|Total Estimate of Cost-New _. =$
pe ‘Less Physical [fret External =
_ Depreciation =( —=j
_ ‘|Depreciated Cost of improvements =
__ i |"As-Is" Value of Site Improvements =
Bi Estimated Remaining Economie Life (HUD and VA only) "Years INDICATED VALUEBYCOSTAPPROACH
3 : INCOME APPROACH TO VALUE (not required by Fannle Mee) F
Fa Eslimated Monthly Market Rent$ X Gross Rent Muttiplier =$ __ Indicated Value by Income Approach
ms Summary of Income Approach (including support for market rent tand GRM)
PROJECT INFORMATION FOR PUDs (if applicable) ee te
Is the developer/buiider in control of the Homeawners’ Assoctation (HOA)? [| Yes [<) No Unittypeis) ¢] Detached [| Attached
Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dweling unit
Legal Name of Project “ue za
=< 1Otal number of phases Total number ofunits __Total number of units sold
fq Total number of units rented Total number of units for sale Data source(s) —I
=z Was the project created by the conversion of existing salen) into a PUD? [J] Yes [| No_ i Yes, date of conversion _ 4
3] Does the oraject contain any multi-cweliing units? J Yes [7] No Data Source(s) oe
Are the units, common elements, and recreation facilities complete? ‘Ll ¥es [| No If No, describe the status of completion _
Are the comman elements leased to or by the Homeowners’ Association? [] Yes |__| No If Yes, describe the rental terms and options.
Describe common elements and recreational facilities __ __ -
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Exterior-Only Inspection Residential Appraisal Report —rie# ssma704e

This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
manufactured home or a unit In a condominium or cooperative project.

This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
statement of assumptions and Ilmiting conditions, and certifications. Modifications, additions, or deletions to the intended
use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
assignment. Modifications or deletions to the certifications are also not permitted. However, additional certifications that do
not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
continuing education or membership in an appraisal organization, are permitted.

SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
reporting requirements of this appraisal report form, including the following definition of market value, statement of
assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a visual inspection ot
the exterior areas of the subject property from at least the street, (2) inspect the neighborhood, (3) inspect each of the
comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,
and (5) report his or her analysis, opinions, and conclusions in this appraisal report.

The appraiser must be able to obtain adequate information about the physical characteristics (including, but not limited to,
condition, room count, gross living area, etc.) of the subject property from the exterior-only inspection and reliable public
and/or private sources to perform this appraisal, The appraiser should use the same type of data sources that he or she uses
for comparable sales such as, but not limited to, multiple listing services, tax and assessment records, prior inspections,
appraisal files, information provided by the property owner, etc.

INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the
Subject of this appraisal for a mortgage finance transaction.

INTENDED USER: The intended user of this appraisal report is the lender/client.

DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open
market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
the price Is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both parties
are well informed or well advised, and each acting in what he or she considers his or her own best interest; (3) a reasonable
time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. 5. doiars or in terms of fimancial
arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold unaffected by
special or creativa financing or sales concessions* granted by anyone associated with the sale.

“Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area, these costs are
readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
lender that is not already Involved in the property or transaction. Any adjustment should not be calculated on a mechanical
dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
reaction to the financing or concessions based on the appraiser's judgment.

STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser's certification in this report is subject
to the following assumptions and limiting conditions:

1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
to it, except for Information that he or she became aware of during the research involved in performing this appraisal. The
appraiser assumes that the title is good and marketable and will not render any opinions about the title.

2. The appraiser has examined the available ficod maps that are provided by the Federal Emergency Management Agency
(or other data sources) and has noted in this appraisal report whether any portion of the subject site Is located in an
identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes mo guarantees, express or
implied, regarding this determination.

3. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

4. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
she became aware of during the research involved in performing this appraisal. Unless otherwise stated in this appraisal
report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsibie for any such
conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
Because the appraiser Is not an expert in the field of environmental hazards, this appraisal report must not be considered as
an environmental assessment of the property.

5, The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will be
performed in a professional manner.

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Exterior-Only Inspection Residential Appraisal Report Fike # 18M17048

APPRAISER’S CERTIFICATION: The Appraiser certifies and agrees that

1. | have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
this appraisal report.

2. 1 performed a visual inspection of the exterior areas of the subject property from at least the street. | reported the condition
of the Improvements in factual, specific terms. | identified and reported the physical deficiencies that could affect the livability,
soundness, or structural integrity of the property.

3. | performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
place at the time this appraisal report was prepared.

4. | developed my opinion of the market value of the real property that is the subject of this report based om the sales
comparison approach to value. | have adequate comparable market data to develop a reliable sales comparison approach
for this appraisal assignment. | further certify that | considered the cost and income approaches to value but did not develop
them, unless otherwise Indicated in this report,

5. | researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

| researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
the date of sale of the comparable sale, unless otherwise indicated in this report.

am

7. | selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

8. | have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
has been built or will be built on the land.

9, | have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
property and the comparable sales.

10. | verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
the sale or financing of the subject property.

11. | have knowledge and experience in appraising this type of property in this market area.

42. | am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
services, tax assessment récords, public land records and other such data sources for the area in which the property Is located,

13. | obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
reliable sources that | believe to be true and correct,

14. | have taken into consideration tha factors that have an impact on value with respect fo the subject neighborhood, subject
property, and the proximity of the subject property to adverse influences In the development of my opinion of market value. |
have noted in this appraisal report any adverse conditions (such as, but not ‘limited to, needed repairs, deterioration, the
presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
subject property or that | became aware of during the research Involved in performing this appraisal. | have considered these
adverse conditions In my analysis of the property value, and have reported on the effect of the conditions on the value and
marketability of the subject property.

15. | have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
statements and information in this appraisal report are true and correct.

16. | stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
are subject only to the assumptions and limiting conditions in this appraisal report.

17. | have fo present or prospective interest in the property that is the subject of this report, and | have no present or

prospective personal interest or bias with respect to the participants in the transaction. | did not base, either partially or
completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
conditioned on any agreement or understanding, written or otherwise, that | would report (or present analysis supporting) a
predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
mortgage loan application).

19. | personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report If |
relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
or the preparation of this appraisal report, | have named such individual(s) and disclosed the specific tasks performed in this
appraisal report. | certify that any individual so mamed is qualified to perform the tasks. | have mot authorized anyone to make
a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and | will take no
responsibility for it.

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Exterior-Only Inspection Residential Appraisal Report — ries 1sm17048

20, | identified the lender/client In this appraisal report who is the individual, organization, or agent for the organization that
ordered and will receive this appralsal report.

21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
borrower; the mortgages or its successors and assigns; mortgage insurers; government sponsored enterprises; other
secondary market participants; data collection or reporting services; professional appraisal organizations; any department,
agency, or instrumentality of the United States; and any state, the District of Columbia, or other Jurisdictions; without having to
obtain the appraiser's or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisat
report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
relations, news, sales, or other media).

22. | am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
laws and regulations. Further, | am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
that pertain to disclosure or distribution by me.

23. The borrower, another lender at the request of the borrower, the morigagee or ifs successors and assigns, mortgage
insurers, government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part
of any mortgage finance transaction that involves any one or more of these parties.

24. \f this appraisal report was transmitted as an “electronic record" containing my ‘electronic signature," as those terms are
defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
criminal penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States
Code, Section 1001, et seq., or similar state laws.

SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that:

1. | directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
analysis, opinions, statements, conclusions, and the appraiser's certification.

2. | accept full responsibility for the contents of this appraisal report Including, but not limited to, the appraiser's analysis, opinions,
statements, conclusions, and the appraiser's certification.

3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser {or the
appraisal firm}, {s qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

4. This appraisal report complies with the Uniform Standards of Professional Appralsal Practice that were adopted and
promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
report was prepared.

5. lf this appraisal report was transmitted as an “electronic record" containing my “electronic signature," as those terms are
defined in applicable federal and/or state laws {excluding audio and video recordings), or a facsimiie transmission of this
appraisal report | zi i ignature, the appraisal report shall be as effective, enforceable and
valid as if a ph eAdeliverad containing my original hand written signature.

APPRAISER SUPERVISORY APPRAISER (ONLY IF REQUIRED)
Signature ee si Signature pesos
Name James G. Mijkins _ Name
Company Name | /James G. Wilkins Appraisals _ _ Company Name _
Company Address 544 Thomas St., Stroudsburg, PA 18360 Company Address —
Telephone Number 570-424-7090 ws _ Telephone Number _ _
Email Address jim@wilkinsappraisals.com _ Email Address mip
Date of Signature and Report 08/15/2018 . ______ Date of Signature ne
Effective Date of Appraisal 8-11-2018 _ z ___ State Certification # ee
State Certification # © RLOOI264L _ orStateLicense# | -
or State License # ee __ CCS tate ee mo eee ent
or Other (describe) pgm _State# _ _ Expiration Date of Certification or License
State PA ee _
Expiration Date of Certification or License 06/30/2019 ____SUBJEGT PROPERTY
ADDRESS OF PROPERTY APPRAISED 3 s
5334 Delia Ter _ {| Did not inspect exterior of subject property
East Stroudsburg PA4B304 _ — (] Did inspect exterior of subject property from street

ast Stroudsburg, PA 1830 —— Date of Inspection
APPRAISED VALUE OF SUBJECT PROPERTY $ 168,000 __
LENDER/CLIENT COMPARABLE SALES
Name ees pts —— [| ] Didnot inspect exterior of comparable sales from street
CompanyName —_ Eckert Seamans Cherin & Mellott, LLC [| Did inspect exterior of comparable sales from street
Company Address — Princeton Pike Corp. Center, 2000 Lenox Drive, Date of Inspection

‘Ste 203, Lawrenceville, NJO8648 $$
Email Address  DShafer@eckertseamans.com

Freddie Mac Form 2055 March 2005 Page 6 of 6 owt wis | 2055 March 2005

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Form 2085 - “TOTAL appraisal software by a la mode, inc. - 1-800-ALAMODE a ee enivndty
Case 3:18-cv-01617-MEM Document 1-17 Filed 08/16/18 Page 8 of 11

Subject Photo Page

[Borrower Gutierrez, Antonio

[Properly Address 6334 DeliaTer —
[City __—East Stroudsburg ___ County Monroe Stipa ZipCode aea0a

Subject Front
5334 Delia Ter
Sales Price Market Value
GLA. 2,902
Tot.Rooms 9
Tot. Bedrms. 4
Tot. Balhims. 2.5
Location Average
View Average
Site 56 acre
Quality Average
Age 32

Subject Rear

Subject Street

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Case 3:18-cv-01617-MEM Document 1-17 Filed 08/16/18 Page 9 of 11

Comparable Photo Page

Borrower Gutierrez, Antonio ——
Property Address 6334 Delia Ter cere Se et “|
City East Stroudsburg _ County Monroe State PA Zip Code 48304

Lender/Cient

Comparable 1
221 Somerset Dr
Proximity 0.33 miles IN
Sale Price © 160,000

GLA 2,439
Total Rooms 8

Total Bedrms 3

Total Bathrms 3
Location Average
View Average
Site 0.36 acre
Quality Inferior
Age 32

Comparable 2
4110 Rosewood Ter
Proximity 0.72 miles NE
Sale Price = ©=.178,000

GLA 2,880
Total Rooms 10

Total Bedims 4

Total Bathims 4
Location Average
View Average
Site 0.55 acre
Quality Average
Age 34

Comparable 3
126 Summerton Cir
Proximity 0.72 miles E
Sale Price == 159,000
GLA 2,910
Total Rooms 9
Total Bedrms 4
Total Bathrms 3
Location Average
View Average
Site 0.55 acre
Quality Average
Age 34

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Case 3:18-cv-01617-MEM

Location Map

Document 1-17 Filed 08/16/18 Page 10 of 11

| Borrower Gutierrez, Antonio
Properly Address 5334 Della Ter
City ___ East Stroudsburg

Lender/Client

a la mode, inc.

Pee eee ona ae emery

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East Stroudsburg, PA 16301
0,33 miles N
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SUBJECT COMPARABLE No.3

5334 Della Ter
East Stroudsburg, PA 18301

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126 Summerton Cir
East Stroudsburg, PA 18301
0.72 miles E

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Form MAP,LOC - 'TOTAL" appraisal sottware by a la mode, inc. - 1-800-ALAMODE esign.alamode.comiverify
Case 3:18-cv-01617-MEM Document 1-17 Filed 08/16/18 Page 11 of 11
WILKINS JAS G APPRAISALS

FROW: INVOICE
WILKINS JAS G APPRAISALS INVOICE NUMBER
WILKINS JAS G APPRAISALS
514 Thomas St
Stroudsburg, PA 18360-2125 DATES

Invoice Date:
Telephone Number: (670) 421-7090 FaxNumber; (570) 421-3804 Due Date:
REFERENCE

TO: Internal Order #:

Eckert Seamans Cherin & Mellott, LLC Lender Case #:

Princeton Pike Corporate Center Client File #:

2000 Lenox Drive, Suite 203 FHA/VA Case #:

Lawrenceville, NJ 08648 Main Fite # on form:
Other File # on form:

E-Mail:

Telephone Number: Fax Number: Federal Taw ID:

Alternate Number; Employer 1D:

DESCRIPTION

Lender: Eckert Seamans Cherin & Mellott, LLC Client;
Purchaser/Borrower: Gutierrez, Antonio
Property Address: 5334 Delia Ter
City: East Stroudsburg
County: Monroe Stale: PA Zip: 18301
Legal Description:  DBV: 2479-1455

FEES AMOUNT
2055 exterior appraisal 300.00
SUBTOTAL 300.00
PAYMENTS _ AMOUNT
Check #: Date: Description:
Check #: Date: Description:
Check #: Date: Description:
SUBTOTAL
TOTALDUE |§ 300.00
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